                     Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 1 of 12
AO 91 (Rev. 02109) Criminal Complaint




              tlnfl'[edl Sta'tes Df,s
                                                                 forthe
                                                    'Western
                                                               District of New York


                          United States of America
                                     v.                                                                         yU7
                                                                                      Case   No. le-MJ-
                       THOMAS ALONZO BOLIN
                          a/k/ a Peter Vincent
                                        Defendant



                                                      CRIMINAL COMPLAINT


         I, ADAM T. PARADOWSKI, the complainant in this case, state that the following is true to the best of my
knowledge andbelief.


         On or about March 12,2019, in the County of Monroe, in the Westem District of New York, the defendant,
THOMAS ALONZO BOLIN a/k/a Peter Vincent, did knowingly and willfully make a materially false, fictitious
and fraudulent statement and representation in a matter within the jurisdiction of the executive branch of the
Government of the United States, by stating to a Special Agent and Task Force Officers of the Federal Bureau of
Investigation that he did not possess any firearms in New York State when the defendant then and there knew that
he possessed a Mossberg, Model 590,I2-gavge shotgun in his bedroom at 34ThirdAvenue, Rochester, New York,
in violation of Title 18, United States Code, Section 1001(aX2).

         This Criminal Complaint is based on these facts:


SEE ATTACHED           AFFIDAVIT OF SPECIAL AGENT ADAM T. PARADOWSKI.

         tr   Continued on the attached sheet.


                                                                                        Comp lainant's signature


                                                                       S/A ADAM T. PARADOWSKI
                                                                                         Printed name and title
Sworn to before me and signed in my presence.

Date: April3 .2019                                                      [faa'a4   ,rfi*rc,-
                                                                                                ,fudge's signature


                                                                       HONORABLE MARIAN W. PAYSON
City and State: Rochester, New York                                    TINITED STATES MAGISTRATE JUDGE
                                                                                             Printed name and title
          Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 2 of 12


                                                                                  U'ry'wm l
                           Arrpayrr     IN Supponr Or Cnnrmlar       Corwramr
 State of New York )
 County of Monroe )              SS:
 City of Rochester )


          I, ADAM T. PARADOWSKI, being duly sworn, depose and state the following:


                                           INTRODUCTION

          1.     I   am a Special Agent with the Federal Bureau of Investigation (FBI), and have

 served   in this capacity for approximately six months.        I   am currently assigned to the Joint
Terrorism Task Force (JTTF), Buffalo Division, in Rochester, New York. At the JTTF, I work

with a team of federal, state, and local law enforcement agents and officers on investigations

relating to domestic and intemational terrorism. During my tenure with the FBI,                   I have also
attended intensive training on counterterrorism and other types of investigations, including

counterintelligence, white collar crime, public comrption, organizedcrime, and narcotics. prior

to my employment with the FBI, I worked for approximately five years as a Border patrol Agent

with the United States Customs and Border Patrol. In addition, I worked for approximately one

year with New York State Department of Corrections and Community Supervision.                 I   amfamrliar
with digital evidence commonly         possessed and used by those involved     in criminal activities. I
have also conferred with other FBI Special Agents who have expertise and experience in

counterterrorism investigations and digitalevidence.


        2.      The FBI is an agenry within the executive branch of the govemment of the United

States and is responsible   for investigatrng alleged violations of federal criminal law, including,

inter alia, violations of federal civil rights laws (including violations of 18 U.S.C.
                                                                                       $$ 241
(conspirary to violate civil rights) ,247 (obstruction of persons in free exercise
                                                                                   of religious beliefs),
           Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 3 of 12




and 249 (hate crime acts)), and federal firearms laws (including violations    of 18 U.S.C.   $ 92a@)

(possession and use of firearms      in furtherance of a crime of violence)). Based on the     above-

described information, the FBI began an investigation of THOMAS ALONZO BOLIN                    a/k/a
Peter Vincent and others for possible violations of federalcivil rights andfirearms laws.



        3.          This affidavit is submitted in support of a criminal complaint charging THOMAS

ALONZO BOLIN a/k/a Peter Vincent with a violation of 18 U.S.C. $ 1001(a)(2) (materially

false statements in relation to a matterwithin the jurisdiction ofthe executive branch ofthe United

States government). The assertions made herein are based on my personal knowledge and

information     I   have received from this investigation, including information from several law

enforcement officers and agents assigned to the Rochester Joint Terrorism Task Force (JTTF),

records from BOLIN's Facebook account, and information from public databases, all of which

are ffue and correct to the best of my knowledge and belief. Further,    I have had discussions with

law enforcement officers involved in this investigation who have confirmed the accrJracy of the

information contained within this affidavit. Since this affidavit is being submitted for a limited

pu{pose,   I   have not included each and every fac.- that   I know conceming     this investigation.

Rather, I have set forth only those facts that relate to the issue of whether probable cause exists to

believe that BOLIN committed the above-mentioned offense.


                                         II. PnonenrCeusn

                                     FBI IrvynsrrcanroN or Borrx


       4.           THOMAS ALONZO BOLIN is a22-yeN old white male. He is a United              States

citizen, who until recently resided at 34Thtrd Avenue, Greece, New York. As detailed herein,

BOLIN has expressed his support of white supremacist groups and self-identifies as a "Folk
           Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 4 of 12




Odinist." Odinist refers to a religious group revering the gods of the Norse mythos. The

designation of a "Folk" Odinist adds the additional condition that the Odinist religion is limited

to heterosexual whites. As detailed herein, the FBI began an investigation of BOLIN and others

for potential violations of federal civil rights andftearms laws in mid-March2019.


          5.      On March 15, 2079, a gunman attacked two mosques in Christchurch, New

Zealand, shooting and killing 50 worshippers and civilians, and injuring 50 others. The gunman

-   a self-professed ethno-nationalist   - livestreamed   the first attack on Facebook. In connection   with

the attacks, the gunman issued a73-page manifesto titled, "The Great Replacement," which is a

reference     to white genocide conspiracy theories. The manifesto was e-mailed to              numerous

recipients and links to the manifesto were shared on Twitter and other platforms. Copies of the

livestream video were posted on various social media platforms, including Facebook and

YouTube.


         6.      On March 15, 2019, a Facebook user by the name of "Ragnar Odinson" made

threatening statements via Facebook Messenger. Odinson responded to the Christchurch attacks

by calling for arc-enactment in the United States. Odinson further indicated that he was willing

to "do    something as    of next week" in Baltimore, Maryland. Odinson encouraged                another

individual to buy firearms and ammunition, and food, and stated that he (Odinson) would travel

to meet the individual the following week. Odinson, whose real name is Austin Witkowski,                  is

BOLIN's cousin and is a member of a Facebook group, Odin's Warriors, which is managed by

BOLIN.
          Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 5 of 12




        7.        On March 17,2019, the FBI obtained records relattng to a Facebook account

utilized by THOMAS ALONZO BOLIN under the alias "Peter Vincent."                           1   The Facebook

account profi.le picture depicts the White Pride World Wide banner. White Pride World Wide is

listed prominently on the Intemet homepage of Stormfront, which is a white supremacist online

forum founded by a former Klu Klux Klan leader in Alabama. The Facebook records showed

that BOLIN belonged to multiple Facebook groups, such as Skinheads CZ/SK, Odin's Warriors

(2t and 2), Volksfront Intemational, and Asaffu Folk Assembly. These groups are comprised of

members who currently and historically have expressed support for a white supremacist ideology.

Between March 10, 2019, and March 19, 2019, BOLIN made statements consistent with white

supremacist ideology andmade references to the attacks in Christchurch, New Zealand, in several

posts and messages on Facebook. The following is a summary of relevant information from the

Facebook records:2

             a.   On March 15,2019, BOLIN used Facebook to post the following statements:

                     i.   "As a people we must accept the old gods and rally around our kin. And

fight back against the kikes.islamic filth and the niggers in that order";

                     11. "Im kinda in the middle of reading that guys manifesto" (referring to the

manifesto of the shooter from the Christchurch mosque attacks) and "Brugh                   I just got done
readrng the whole thing"    ;




1 On March 21,2019, FBI Kansas City requested and received from Facebook the return of a voluntary
emergency disclosure of subscriber and content information for the account using the Facebook identification
number 100022393111719 and user name "Peter Vincent," for the period March 10,2019, through March 19,
2019.In a message on March 14,2019, the user stated, "[m]y real name is thomas bolin peter vincent is a
character from a horror movie." Subsequently, in an interview on March 30,2019, BOLIN's girlfriend, who has
the initials A.L., conflrmed that BOLIN uses a Facebook account in the name of Peter Vincent.

2
 The posts and messages summarized in this affidavit are verbatim and contain various spelling and grammatical
errors. Your affrant has not corrected those errors in order to convey the original text to the Court.
            Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 6 of 12




                   1ii. "A war is comeing     being ignorant of it is not protection from          it";
                    iv.   "'Way late for that the invasion happening at the southem border. Or the

 destruction of our homeland by Islamic trash. Just cause you are a pussy and willing to let it

 happen dont expect that from me or mine";

        b.      On March 15, 20L9, BOLIN also posted the two photographs                      -   one with the

caption "how muslims      see   white people," which depicted   a   white male pointing   a   shotgun toward

the camera, and one with the caption "how white people see muslims," which consisted of a still

photograph from the Christchurch gunman's video of the attack showing a long gun being pointed

downrange toward a mosque;

        c.      On March 15,2019, Ragnar Odinson exchanged messages with BOLIN. BOLIN

stated, "Brugh dude killed 40 muslims," referring to the Christchurch attacks, and Odinson

responded with a heart emoji and "Lovely." BOLIN further stated, "Ya ranup in a mosque with

an ar [meaning AR-15]," and Odinson responded, "Lol." Odinson also shared links to the

Christchurch gunman's manifesto and video of the shooting with a Facebook
                                                                          Soup, which
included BOLIN;

        d.      On March t5, 2019, BOLIN exchanged Facebook                     messages          with    another

Facebook user and, in reference to the Christchurch attacks, stated, "there is a war brewing,, and

"realistically this was a small pice of a bigger picture now we wait for the retaliation,,;

       e'       On March 15, 2019, BOLIN, in a Facebook message to his girlfriend, stated,

"Come on they are muslim rats they would gladly do the worse to you or me. it does my hart

good to see thim run down infront of their saldnigger god" (referring to the Christchurch
                                                                                          attacks);

       f.       On March 16, 2019, BOLIN exchanged a series of Facebook                       messages      with
Ragnar Odinson. BOLIN stated that he "wrecked" acar andbroke his arm. Odinson responded,

"there goes a1l that shit then." BOLIN replied, "[o]nly takes one arm to fire a glock.,,
                                                                                         Odinson
               Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 7 of 12




stated,   "I   guess I'11 do this shit my self.   I'm not waiting months and months or a week. It was

supposed to be done by Halloween";

          g.        On March 16, 2019, Ragnar Odinson posted, "Words ar.en't going to help.

Violence is the key. " BOLIN responded, "Yoooo chill . . . Not on the fed book. " Odinson replied,

"No fuck are given anymore";

          h.        On March 17, 2019, BOLIN exchanged Facebook messages with his girlfriend,

A.L. BOLIN told her that his cousin (Austin Witkoski who is the Facebook user known                   as


"Ragnar Odinson") hadbeen arrested. A.L. responded, "Well. You guys areprobably on a watch

list now. Especially with that shooting that just happened [which I believe is a reference to the

Christchurch attacks]. That facebook chat you were talking about is probably why they went after

him." BOLIN replied, "Nah, ik [meaning "I know"] what happened its so retarded." A.L.

responded, "You cant rule it out tho. Especially if you were telling the truth and that guy really

qas apart of your group."       BOLIN then explained that the arrest happened because Witkowski's

grarudfather calTedthe police during an argument;

          i.       On March 17,2019, BOLIN, referring to the Christchurch attacks, stated, "Well

he wrote a manifesto. What he did was fucked up but politically he is making some points his

focus was on the fac. that the elites want to            kill off the white   race and replace us with a

demographic they can control better. Which is fairly obvious if you look into it. His solution was

extremely radical and misguided but its a good read ill send you the link to it if you want its about

a 30 min read"; and

          j.       On March 18,2019, BOLIN posted, "Im serious war is comeing. My cousin [a

reference to Ragnar Odinson] got dragged out of his house yesterday by a swat team            for 100 no

reason no charges were fiIled and they put him on a72 hour hold."
        Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 8 of 12




                            Bornq's Accpss To Fnranrvrs

        8.   On March 12, 2019, BOLIN posted the following photograph to his Facebook

page:
         Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 9 of 12




        9.      On March 12,2019, BOLIN also posted three photographs on his Facebook page,

which depicted atotal of four handguns.


                      Bornq's Sreruuprvrs To TnBFbrOuMencn 30,2019


        10. As part of the investigation in this case, members of the Rochester JTTF
interviewed BOLIN and his girlfriend A.L. on March 30, 2019. The interviews took place at

A.L.'s residence at 4480 Culver Road, Irondequoit, New York. Two members of the investigative

team- FBI Special Agent Kevin Black and Task Force Officer (TFO) Scott Hill         - approached the
front door of the residence and knocked. After BOLIN answered the door, Special Agent Black

and TFO    Hill identified themselves and asked to speak with BOLIN. BOLIN           agreed   to speak

with them, but would not allow them to enter the residence. BOLIN accompanied Special Agent

Black and TFO Hill outside and, due to the fact that it was raining, entered the back seat of one

of their vehicles. The vehicle was driven to a parking lot across the street, within view of A.L.'s

home. BOLIN remained         in the back   seat   with Special Agent Black, while TFO Hill        was

positioned in the front passenger seat and TFO Eric Norcross was positioned in the front driver's

seat (although he exited the vehicle intermittently to answer telephone calls).    At the time of the

interview, BOLIN was wearing the same black hooded sweatshirt that was depicted in the

photograph from BOLIN's Facebook page, which is set forth in fl 8, above.


        11.    BOLIN was advised throughout the interview, on at least two different occasions,

that it was a crime to lie to federal agents in the course of their investigation. In addition, he was

advised that he was not under arrest. During the interview,   BOLIN stated that his cousin, Austin

Witkowski a/k/a Ragnar Odinson, had told him that the FBI would be coming to talk to him

(BOLIN) about the Odin's Warriors Facebook group. BOLIN admitted to sharing the video of

the Christchurch attacks and the link for the gunman's manifesto. BOLIN stated that he does not
                                                   8
        Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 10 of 12




hate Muslims, but wants them out of the country because he believes they are conffibutingto a

comrption of his culture. BOLIN further stated that he never suggested hurting anyone. BOLIN

was asked if he possessed any guns. BOLIN admiued to having possessed guns while living in

Kansas City, Missouri, but stated that the guns were legal there. BOLIN denied ever possessing

a grnwhile in New York State.


       12.    In a separate interview, A.L. stated that BOLIN moved to New York in May 2018,

and has been residing at 34Thtd Avenue, where A.L.'s grandmother also resides. A.L. stated

that BOLIN's belongings were at 34Thrd Avenue, but stated that BOLIN did not have any

firearms or weapons there.



       13.    On March 30, 2019, an interview was conducted with a person with the initials

M.M. at34ThtdAvenue,         Greece, New York.   M.M., the owner of the residence, stated that   she

has been renting a bedroom on the second story of the residence to BOLIN for the last eight

months. M.M. has a verbal agreement to rent the bedroom to BOLIN for $200 a month. The

room rented by BOLIN can be locked with a key. M.M. maintained a copy of the key because

she would periodically enter the bedroom   to access a storage closet attached to the bedroom.

BOLIN and M.M. are the only people who have a key to BOLIN's bedroom. M.M. has an

understanding with BOLIN that she can enter the bedroom whenever she needed to do so. In

fact, M.M. has accessed the bedroom six or seven times over the last eight months while BOLIN

was not home. M.M. executed a written consent for members of the investigative team to search

BOLIN's bedroom and the storage closet.


       14.    During a subsequent search of BOLIN's bedroom, members of the Rochester

JTTF found two boxes of Federal Manufacturrngl2-gatage ammunition on the bed. In addition,
         Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 11 of 12




they found a red devil mask - which matched the mask depicted in the photograph from BOLIN's

Facebook account, which is set forth in fl 8, above   -   in plain view on a dresser. In the storage

closet off the bedroom, FBI Special Agent Matthew Chilbert recovered a black backpack

containing a Mossberg, Model 590,L2-gatge shotgun, bertngserial number V0853179, loaded

with five rounds of Federal Manufacturing ammunition, and a plastic bagcontarning additional

rounds of shotgun ammunition. M.M. confirmed that the shotgun did not belong to her. Your

affrant has examined the front end of the shotgun and determined that it appears to be the same

shotgun that is depicted in the photograph from BOLIN's Facebook account, which is set forth

in fl 8, above.


        15.       Based on the evidence recovered   in BOLIN's      bedroom and closet, and the

photograph posted on his Facebook account on March 12,2019, your affiant believes that BOLIN

knowingly and willfully made a false and fictitious statement when he denied possessing any

firearms in New York State. Your affrant further believes that said false and fictitious statement

was material to the FBI's investigation of BOLIN's potential involvement in violations of federal

civil rights andftearms laws.

                                       III. CoNcLUsroN

        16.       Based on the foregoing, there   is probable cause to believe that THOMAS
ALONZO BOLIN has committed a violation of 18 U.S.C. g 1001(a)(2) (materially false

statements in relation to a matter within the jurisdiction of the executive branch of the United

States government).




                                               10
Case 6:19-mj-04047-MWP Document 1 Filed 04/03/19 Page 12 of 12




Dated: Rochester, New York
       April 3 ,20T9


                                        ADAM T. PARADOWSKI
                                        Special Agent
                                        Federal Bureau of Investigation
                                        Joint Terrorism Task Force


Subscribed and swom to before me
this   3   day   of Apnl,2}lg.
ffTr^'on     qfiu4t-
HON. MARIAN W. PAYSON
United States Magistrate Judge
Westem District of New York




                                   11
